Case 16-00130      Filed 07/28/17    Entered 07/28/17 08:41:20      Doc# 255     Page 1 of 3


Erik LeRoy, P.C.
500 L St., Ste 302
Anchorage, Alaska 99501
(907) 277-2006
Attorney for Unsecured Creditors Committee

                     IN THE UNITED STATES BANKRUPTCY COURT

                              FOR THE DISTRICT OF ALASKA

In re:                                             :
                                                   :
AURORA GAS LLC                                     :      Case No. 16-00130 GS
                                                   :
                Debtor.                            :
                                                   :

              UNSECURED CREDITORS COMMITTEE’S STATUS COMMENTS
                             (July 28, 2017 Hearing)



         1.     Time. If Debtor’s projections are correct, it has sufficient income to pay its

day to day expenses through August.



         2.     Conversion or Dismissal. This case will convert or dismiss, the only

questions are which and when.



         3.     Conversion problems.

                (a) This case should not convert still holding any of the gas leases for the

reasons stated in the U S Trustee’s Trial Brief (De 247) and the USCC’s Motion to

Abandon (DE 248). This condition is a timing problem if the Court is going to approve

any sale of the Nicolai lease, since at least AE believes it needs an order approving its

purchase and then 30 days to get State of Alaska permits or bonds in place. There is a

risk that the AE (or Escopeta) sale will not close, but that the sale will have been

                                           Page -1-
Case 16-00130     Filed 07/28/17    Entered 07/28/17 08:41:20      Doc# 255     Page 2 of 3


approved. The Debtor will have to remain in Chapter 11 until that sale closes, which will

be after August 31, when the Debtor’s daily expenses will exceed its income.

              (b) Plug and abandonment as chapter 7 administrative expense. The U S

Trustee’s trial brief suggests that plug and abandonment costs may be a chapter 7

administrative expense (DE 247). No chapter 7 trustee is likely to accept this case

unless at least the State of Alaska entities, Cook Inlet Region, Inc., Kaiser Francis (the

guarantor of plug and abandonment costs on the CIRI leases), and Tyonek Native

Corporation, agree that the chapter 7 trustee’s actual costs including commission,

accounting and attorney fees, will have priority over any awarded administrative expense

claims of such entities.



       4.     Purchase offers. Both offers filed in the docket have problems.

       (a) AE’s clarification filed at DE 254 discloses the equipment it believes its offer

included; a large list of stuff that the Debtor valued fairly highly in its Schedules (DE 52).

Presumably, Escopeta’s offer (DE 253) will include the same equipment. The USCC

does not yet have a good idea of the liquidation value of this equipment.

       (b) Both offers, without explicitly saying so, want the Debtor or the Trustee to file

an adversary action to recover Helena Energy, a marketing arm of the Debtor, which the

USCC believes the Debtor conveyed to a Furie or Reick controlled Dubai entity within

the 90 days preceding the involuntary bankruptcy. The Escopeta offer explicitly carves

out and values this avoidance action. The USCC believes the AE offer explicitly states

that the avoided recovery of Helena is included in its $75,000, but that if Helena is not

recovered, AE will still pay the Debtor $75,000, which give the Debtor or trustee no

incentive to file the necessary adversary action.

                                          Page -2-
Case 16-00130       Filed 07/28/17       Entered 07/28/17 08:41:20          Doc# 255       Page 3 of 3




        5.       Avoidance actions or other claims. A benefit of a conversion over a

dismissal of this case is the preservation of avoidance actions. The Helena Energy

transfer has been discussed above. There may be others, but the USCC does not

believe at this time that there are any avoidance actions with potential for substantial

recoveries. The Debtor, or possibly several of the Debtor’s vendors, have a claim

against Kaiser-Francis for work done on the CIRI leases which Kaiser-Francis was

suppose to pay for. Although not an avoidance action, this claim may belong to the

Debtor not its vendors and may be best resolved in a chapter 7 rather than state court.

In fact, the USCC cannot perceive how this claim can be resolved in state court without

a dissolution or receivership action being filed in that venue. Will then the state court

judge call one of the panel trustees (or someone else) to ask him or her to accept a

receivership?


July 28, 2017                                    Erik LeRoy, P.C.
                                                 Attorney for Unsecured Creditors Committee

                                                 /s/ Erik LeRoy



                                           Certificate of Service

I certify that on July 28, 2017, a copy of this pleading was served by electronic means through the ECF
system as indicated on the Notice of Electronic Filing.


Erik LeRoy

/s/ Erik LeRoy




                                                Page -3-
